            Case 1:20-cv-01536-TJK Document 1-2 Filed 06/11/20 Page 1 of 6




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 COMPAGNIE SAHÉLIENNE
 D’ENTREPRISE,

                        Petitioner,

         v.
                                                                         20-1536
                                                        Civil Action No. ______
 REPUBLIC OF GUINEA,

                        Respondent.




                             DECLARATION OF B. TED HOWES

       I, B. Ted Howes, declare pursuant to 28 U.S.C. § 1746 as follows:

       1.       I am a member of the law firm Mayer Brown LLP. I am counsel for Petitioner

Compagnie Sahelienne d’Entreprise (“CSE”).

       2.       I submit this declaration in support of Petitioner’s Petition to Recognize and

Enforce Foreign Arbitral Award.

       3.       I make this declaration by reference to certain exhibits appended hereto and with

respect to facts personally known to me.

       4.       Petitioner CSE seeks to enforce the arbitral award issued by a duly-constituted

arbitration tribunal (the “Arbitration Tribunal”) on August 7, 2018 (the “Final Award”) in ICC

Case No. 22056/DDA, captioned The Company: Compagnie Sahelienne d’Entreprise (Senegal)

v. The Republic of Guinea (the “Arbitration”) against Respondent Republic of Guinea

(“Guinea”). A true and correct copy of the Final Award along with a translation is attached

hereto as Exhibit A.
            Case 1:20-cv-01536-TJK Document 1-2 Filed 06/11/20 Page 2 of 6




       5.       On June 25, 2003, Petitioner CSE—as contractor—and Guinea—as the project

owner—entered into two public works procurement contracts for the completion of two projects

to upgrade various sections of roads in Guinea between the town of Tombo and Gbessia Airport.

Specifically, the parties entered into (i) “Upgrading of the 2x2 Roads between Tombo and

Gbessia Airport (Conakry), Lot 4: Kenien Section - T1, Procurement Contract for Construction

Work No. 2003/0325/1/2/1/2/N,” dated June 25, 2003 (the “Procurement Contract for Lot 4”)

and (ii) “Upgrading of the 2x2 Roads between Tombo and Gbessia Airport (Conakry), Lot 5:

Section T1-T2 including the two interchanges at the intersections of the T1 and the T2,

Procurement Contract for Construction Work No. 2003/0324/1/2/1/2/N,” dated June 25, 2003

(the “Procurement Contract for Lot 5,” and together with the Procurement Contract for Lot 4, the

“Procurement Contracts”). True and correct copies of the Procurement Contract for Lot 4 and

the Procurement Contract for Lot 5, along with translations of the relevant portions, are attached

hereto as Exhibit B and Exhibit C.

       6.       The Procurement Contracts are governed by both certain “General Administrative

Terms and Conditions” and certain “Special Administrative Terms and Conditions,” each of

which contains a clause regarding the settlement of disputes. True and correct copies of the

General Administrative Terms and Conditions and the Special Administrative Terms and

Conditions for the respective Procurement Contracts, along with translations of the relevant

portions, are attached hereto as Exhibit D and Exhibit E.

       7.       Article 50 of the [General] Administrative Terms and Conditions for both

Procurement Contracts states:

                50. Settlement of Disputes

                50.1 Intervention of the Project Owner



                                                2
            Case 1:20-cv-01536-TJK Document 1-2 Filed 06/11/20 Page 3 of 6




                If a dispute arises between the Project Owner and the Contractor,
                in the form of reservations noted with respect to a service order or
                in any other form, the Contractor shall submit to the Project
                Owner, for transmission to the Project Owner through the Project
                Head, a memorandum setting forth the grounds and indicating the
                amounts of its claims.

                In the absence of a satisfactory response received within a time
                limit of fifteen (15) days from the date of recipient, by the Project
                Owner, of the letter or of the memorandum from the Contractor,
                the Contractor shall have fifteen (15) days to submit to the
                Mediator the dispute related to its claim or the response that is
                made to it by the Project Owner.

                Exs. D and E at ¶ 50.1.

       8.       The Special Administrative Terms and Conditions state in Article 29:

                Article 29. Settlement of Disputes (General Administrative
                Terms and Conditions, Article 50)

                50.31 All disputes arising out of this Procurement Contract shall be
                settled definitively in accordance with the Arbitration and
                Mediation Rules of the International Chamber of Commerce in
                Paris, France, by one or more arbitrators designated in compliance
                with said Rules.

                Exs. D and E at ¶ 29.

       9.       Therefore, disputes under the Procurement Contracts were subject to binding

arbitration in accordance with the Arbitration Rules of the International Chamber of Commerce.

       10.      The Arbitration Tribunal found that CSE performed its contractual obligations in

full and delivered to Guinea all of the construction works stipulated in the Procurement

Contracts. Guinea attested to this performance through two certificates of final acceptance

prepared without reservations, dated June 24, 2009. Ex. A at ¶¶ 198, 209-10.

       11.      As stated in the Final Award, from 2011 to 2015, CSE thereafter made multiple

requests for payment to the various Guinean Ministries involved, namely, the Minister of Public




                                                  3
         Case 1:20-cv-01536-TJK Document 1-2 Filed 06/11/20 Page 4 of 6




Works and the Minister of Finance; however, Guinea failed to make payment to CSE pursuant to

the Procurement Contracts. Ex. A at ¶ 201.

       12.     On June 20, 2016, CSE submitted a Request for Arbitration to the ICC, duly

commencing the Arbitration. Ex. A at ¶ 123. On November 3, 2016, the ICC noted that the

Request for Arbitration was received by the Respondent on August 16, 2016. Ex. A. at ¶ 30.

       13.     The Arbitration Tribunal was appointed by the ICC on April 21, 2017. Ex. A at

¶ 37. On May 25, 2017, the Arbitration Tribunal served the entire Arbitration case file on

Guinea. Ex. A at ¶ 41.

       14.     As stated in the Final Award, Respondent Guinea did not participate in the

Arbitration proceedings despite the fact that notice of the arbitration, all communications, and

notice of all preliminary and final hearings was sent to, and received by Respondent, at three

addresses: (i) the Judicial Agent of the Government located in Conakry, Guinea, (ii) the Guinean

Embassy in Paris, France, and (iii) for communications after November 6, 2017, the Republic of

Guinea’s Minister of Public Works. Ex. A at ¶¶ 6-9, Appendices 1-36. The appendix to the

Final Award contains the DHL proofs of delivery for correspondence throughout the arbitration.

       15.     The final evidentiary hearing in the Arbitration took place on February 19-20,

2018. During this hearing, the Arbitration Tribunal duly assessed CSE’s oral pleadings and

heard from CSE’s witness. Ex. A at ¶¶ 113-22.

       16.     On August 7, 2018, the Arbitration Tribunal issued the Final Award in the

Arbitration. Ex. A.

       17.     The Arbitration Tribunal explicitly found that (i) “[t]here is no doubt that the

Respondent was informed of this arbitration from the outset,” (ii) “Respondent was duly and

validly served with the Claimant’s Request for Arbitration in compliance with the terms of



                                                 4
          Case 1:20-cv-01536-TJK Document 1-2 Filed 06/11/20 Page 5 of 6




Article 4 of the ICC Rules,” (iii) “[a]ll the notifications were validly served upon Respondent in

compliance with Article 3(2) of the ICC Rules,” and (iv) “all the measures reasonably necessary

to notify the Respondent of this arbitration have been taken; that there have been no obstacles to

the Respondent’s participation in this arbitration; and that the Respondent’s absence at this

arbitration has been a deliberate choice on its part and not the result of a lack of notification.”

Ex. A at ¶¶ 8-9.

       18.     As the Final Award makes clear, the Arbitration Tribunal put Claimant to the

burden of proving its claims against Respondent notwithstanding Respondent’s absence from the

proceedings:

               The Arbitral Tribunal also notes that in the absence of
               representation on behalf of the Respondent, it has ensured that the
               rights of the defense and the principle of equal treatment of the
               Parties are protected, by ensuring that the Respondent had been
               served with confirmation of delivery receipts all the statements,
               requests, correspondence, and exhibits submitted for the case file.
               The Arbitral Tribunal also asked the Claimant questions and asked
               it to produce all the documents that it deemed necessary in order to
               ensure equal treatment of the Parties and respect for the rights of
               the defense in the absence of participation of one of said Parties.

               The Arbitral Tribunal has also meticulously analyzed, examined,
               and assessed the Claimant’s statements as well as the documents
               submitted within the framework of these proceedings in light of the
               applicable legal rules, in order to determine whether the Claimant
               was entitled to the reparation that it is requesting or not.

Exhibit A at ¶¶ 159-160.

       19.     The Final Award dismissed some of Claimant’s claims and granted others. With

respect to the claims granted by the Arbitration Tribunal, the Final Awards ordered that Guinea

must pay CSE as follows: (i) EUR 3,470,475.73 with respect to Procurement Contract for Lot 4;

(ii) EUR 3,897,891.12 with respect to Procurement Contract for Lot 5; (iii) interest at a rate of




                                                  5
         Case 1:20-cv-01536-TJK Document 1-2 Filed 06/11/20 Page 6 of 6




2.75% per year accruing on December 10, 2012 until the date of final payment; and (iv) USD

541,450 as expenses for the arbitration. Exhibit A at ¶ 342.

       20.     Respondent Guinea has not paid Petitioner CSE any portion of the Final Award

and has not expressed any intention to do so.

       21.     I declare under penalty of perjury that the foregoing is true and correct.




Executed on: June 10, 2020
             South Salem, New York                     ________________________
                                                       B. Ted Howes




                                                 6
